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                                                      Exhibit 7: U.S. Patent No. 8,334,847

Claims                       Identification
14[pre] A method of          To the extent the preamble is limiting, Asus-branded devices practice a method of providing a user interface.
providing a user interface
comprising:




                             See, e.g., ASUS Chromebook Flip CX5 (CX5601, 12th Gen Intel) – Overview, ASUS,
                             https://www.asus.com/us/laptops/for-home/chromebook/asus-chromebook-flip-cx5-cx5601-12th-gen-intel/ (last
                             visited Mar. 12, 2024); Asus Chromebook Flip CX5 (CX5601, 12th Gen Intel) – Tech Specs, Asus,
                             https://www.asus.com/us/laptops/for-home/chromebook/asus-chromebook-flip-cx5-cx5601-12th-gen-intel/techspec/
                             (last visited Mar. 12, 2024).




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Claims        Identification




              See, e.g., ASUS Zenbook Duo (2024) UX8406 – Overview, ASUS, https://www.asus.com/us/laptops/for-
              home/zenbook/asus-zenbook-duo-2024-ux8406/ (last visited Mar. 12, 2024); ASUS Zenbook Duo (2024) UX8406 –
              Tech Specs, ASUS, https://www.asus.com/us/laptops/for-home/zenbook/asus-zenbook-duo-2024-ux8406/techspec/
              (last visited Mar. 12, 2024).




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Claims                         Identification




                               See, e.g., Zenfone 10, ASUS, https://shop.asus.com/us/zenfone-10.html (last visited Mar. 12, 2024); Zenfone 10 – Tech
                               Specs, ASUS, https://www.asus.com/us/mobile-handhelds/phones/zenfone/zenfone-10/techspec/ (last visited Mar. 12,
                               2024); see also, e.g., [Phone/Pad] Troubleshooting for Touchscreen response issues, ASUS (Oct. 12, 2023, 18:01),
                               https://www.asus.com/support/faq/1037600/.


14[a] detecting a touch or a   Asus-branded devices detect a touch or a contact on a display in a container area having selectable objects, the
contact on a display in a      selectable objects including a first selectable object provided on a first layer of a multilayer display arrangement and a
container area having          second selectable object provided on a second layer of the multilayer display arrangement overlapping the first layer.
                                                                        Page 3 of 14
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Claims                         Identification
selectable objects, the
selectable objects including
a first selectable object
provided on a first layer of a
multilayer display
arrangement and a second
selectable object provided
on a second layer of the
multilayer display
arrangement overlapping the
first layer;



                                     Selectable                Selectable                   Selectable
                                     Object on a               Object on a                  Objects on
                                     Layer (e.g.,              Layer (e.g.,                 Various Layers
                                     Home                      Pinned Apps                  (e.g., Apps)
                                     Screen)                   Shelf)




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Claims        Identification




                                                          Selectable
                                                          Objects on
                                                          Various Layers
                                                          (e.g., Apps)




              See, e.g., Use gestures or buttons to navigate in tablet mode, Chromebook Help,
              https://support.google.com/chromebook/answer/9739838 (last visited Mar. 12, 2024).




                Selectable
                Objects on
                Various Layers
                of the Display



              See, e.g., Use the Chromebook touchscreen, Chromebook Help,
              https://support.google.com/chromebook/answer/2766492 (last visited Mar. 12, 2024).


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Claims        Identification




                               Selectable                                        Selectable Object
                               Objects on                                        on a Layer (e.g.,
                               Various Layers                                    Within App)
                               (e.g., Apps)
              See, e.g., [Notebook] Getting to know the touch screen, ASUS (Dec. 4, 2023, 16:53),
              https://www.asus.com/us/support/faq/1041462/.




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Claims        Identification




                Selectable
                Objects on
                Various Layers
                of the Display




              See, e.g., Get around on your Android phone, Android Help, https://support.google.com/android/answer/9079644 (last
              visited Mar. 12, 2024).




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Claims                      Identification




                              Selectable Object
                              on a Layer (e.g.,
                              Within App)




                            See, e.g., Joe Fedewa, 5 YouTube Gestures You Should Be Using on Android and iPhone, How-To Geek (Dec. 23,
                            2021), https://www.howtogeek.com/749519/5-youtube-gestures-you-should-be-using-on-android-and-iphone/.




14[b] comparing a         Asus-branded devices practice a method comprising comparing a magnitude of the movement of the touch or the
magnitude of the movement contact to a threshold value, executing a function associated with the movement when the comparison indicates that
                                                                 Page 8 of 14
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Claims                         Identification
of the touch or the contact to the magnitude of the movement of the touch or the contact extends beyond the threshold value, detecting whether the
a threshold value;             touch or the contact is in an active area of one of the selectable objects when the comparison indicates that the
                               magnitude of the movement of the touch or the contact is below the threshold value, and executing a function
14[c] executing a function associated with a selection of the one of the selectable objects when the touch or the contact is detected to be in the
associated with the            active area of the one of the selectable objects.
movement when the
comparison indicates that
the magnitude of the
movement of the touch or
the contact extends beyond
the threshold value;

14[d] detecting whether the
touch or the contact is in an
active area of one of the
selectable objects when the
comparison indicates that
the magnitude of the
movement of the touch or
the contact is below the
threshold value; and

14[e] executing a function
associated with a selection
of the one of the selectable
objects when the touch or
the contact is detected to be
in the active area of the one
of the selectable objects.




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Claims         Identification
               See, e.g., Use gestures or buttons to navigate in tablet mode, Chromebook Help,
               https://support.google.com/chromebook/answer/9739838 (last visited Mar. 12, 2024).




               See, e.g., Use the Chromebook touchscreen, Chromebook Help,
               https://support.google.com/chromebook/answer/2766492 (last visited Mar. 12, 2024).




               See, e.g., [Notebook] Getting to know the touch screen, ASUS (Dec. 4, 2023, 16:53),
               https://www.asus.com/us/support/faq/1041462/.


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Claims         Identification




               See, e.g., Get around on your Android phone, Android Help, https://support.google.com/android/answer/9079644 (last
               visited Mar. 12, 2024); see also, e.g., Track touch and pointer movements, Android Developers (Mar. 13, 2024),
               https://developer.android.com/ develop/ui/views/touch-and-input/gestures/movement (“Because finger-based touch
               isn't always the most precise form of interaction, detecting touch events is often based more on movement than on

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Claims         Identification
               simple contact. To help apps distinguish between movement-based gestures (such as a swipe) and non-movement
               gestures (such as a single tap), Android includes the notion of touch slop. Touch slop refers to the distance in pixels a
               user's touch can wander before the gesture is interpreted as a movement-based gesture.”).




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Claims         Identification




                                            Page 13 of 14
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Claims         Identification




               See, e.g., Joe Fedewa, 5 YouTube Gestures You Should Be Using on Android and iPhone, How-To Geek (Dec. 23,
               2021), https://www.howtogeek.com/749519/5-youtube-gestures-you-should-be-using-on-android-and-iphone/.
               See also, e.g., Rita El Khoury, YouTube adapts its website to large touchscreens like iPads and Chromebooks, Android
               Police (Apr. 9, 2020), https://www.androidpolice.com/2020/04/09/youtube-adapts-its-website-to-large-touchscreens-
               like-ipads-and-chromebooks/ (noting “gestures to switch to fullscreen (swipe up) or the miniplayer (swipe down).”).



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